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                               No. 21-10199-F

                 UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT

                         JUAN ENRIQUE PINTO,
                             Objector-Appellant,

                                       v.

                         SUSAN DRAZEN, ET AL.
                             Plaintiffs-Appellees,

                                       v.

                          GODADDY.COM, LLC,
                             Defendant-Appellee.

               On Appeal from the United States District Court
                   For the Southern District of Alabama
                      (Case No. 1:19-00563-KD-B)
DEFENDANT-APPELLEE GODADDY.COM, LLC’S APPELLEE’S BRIEF
  AND PARTIAL JOINDER TO BRIEF OF PLAINTIFFS-APPELLEES

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Attorneys for Defendant-Appellee         Attorneys for Defendant-Appellee
GODADDY.COM, LLC                         GODADDY.COM, LLC
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                               No. 21-10199-F
                       Juan Pinto v. Susan Drazen, et al.

                        Certificate of Interested Persons
                      and Corporate Disclosure Statement

      Defendant-Appellee GoDaddy.com, LLC, by and through undersigned

counsel and pursuant to Local Rule 26.1-1, submits its Certificate of Interested

Persons and Corporate Disclosure Statement as follows:

      GoDaddy.com, LLC is a wholly-owned subsidiary of Go Daddy Operating

Company, LLC;

      Go Daddy Operating Company, LLC is a wholly-owned subsidiary of Desert

Newco, LLC; and

      Desert Newco, LLC’s sole managing member is GoDaddy Inc., which is a

publicly traded company on the New York Stock Exchange (GDDY).

                               Interested Persons

      Bandas Law Firm, PC (Counsel for Objector-Appellant Juan Enrique Pinto);

      Bandas, Christopher A. (Counsel for Objector-Appellant Juan Enrique Pinto);

      Bennett, Jason (Plaintiff-Appellee);

      Bock Hatch Lewis & Oppenheim, LLC (Counsel for Plaintiffs-Appellees);

      Bock, Phillip A. (Counsel for Plaintiffs-Appellees);

      Clore, Robert William (Counsel for Objector-Appellant Juan Enrique Pinto);

      Cox, John R. (Counsel for Plaintiffs-Appellees);



                                      CIP-1
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        Cozen O’Connor (Counsel for Defendant-Appellee GoDaddy.com, LLC);

        Criscuolo, Matthew B. (Counsel for Defendant-Appellee GoDaddy.com,

LLC);

        Deen, T. Jefferson, III (Counsel for Objector-Appellant Juan Enrique Pinto);

        Desert Newco, LLC;

        Drazen, Susan (Plaintiff-Appellee);

        Kenneth J. Riemer Attorney at Law (Counsel for Plaintiffs-Appellees);

        Kent Law Offices (Counsel for Plaintiffs-Appellees);

        Kent, Trinette G. (Counsel for Plaintiffs-Appellees);

        Go Daddy Operating Company, LLC;

        GoDaddy Inc.;

        GoDaddy.com, LLC (Defendant-Appellee);

        Hatch, Robert M. (Counsel for Plaintiffs-Appellees);

        Helfand, Steven F.;

        Herrick, John;

        Law Office of John R. Cox (Counsel for Plaintiffs-Appellees);

        Mark K. Wasvary, P.C. (Counsel for Plaintiffs-Appellees);

        Meyers, Evan (Counsel for Plaintiffs-Appellees);

        McGuire Law, PC (Counsel for Plaintiffs-Appellees);

        McMorrow Law, PC (Counsel for Plaintiffs-Appellees);



                                        CIP-2
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      McMorrow, Michael J. (Counsel for Plaintiffs-Appellees);

      Monhait, Jeffrey M. (Counsel for Defendant-Appellee GoDaddy.com, LLC);

      Pinto, Juan Enrique (Objector-Appellant);

      Reimer, Kenneth J. (Counsel for Plaintiffs-Appellees);

      The Honorable Sonja F. Bivins (U.S. District Magistrate Judge, So. District

of Alabama);

      The Honorable Kristi K. DuBose (U.S. District Court Judge, So. District of

Alabama);

      Turin, Yevgeniy Y. (Counsel for Plaintiffs-Appellees);

      Underwood & Riemer, PC (Counsel for Plaintiffs-Appellees);

      Underwood, Earl Price, Jr. (Counsel for Plaintiffs-Appellees);

      Wasvary, Mark K. (Counsel for Plaintiffs-Appellees); and

      Zecchini, Paula L. (Counsel for Defendant-Appellee GoDaddy.com, LLC).

      I hereby certify that, except as disclosed above, I am unaware of any actual or

potential conflict of interest involving the justices of the Eleventh Circuit Court of

Appeals assigned to this case, and will immediately notify the Court in writing upon

learn of any such conflict.




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                      Statement Regarding Oral Argument

      Defendant-Appellee GoDaddy.com, LLC (“GoDaddy”) respectfully submits

that oral argument is not needed in this case, which presents a straightforward appeal

of a district court’s correct decision to grant final approval of a class action

settlement as fair, reasonable, adequate, and not the result of collusion. However, if

the Court determines that oral argument may assist in resolving the issues raised in

this appeal, GoDaddy respectfully requests the opportunity to present oral argument.




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                             Jurisdictional Statement

      The Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331

because Plaintiffs-Appellees Susan Drazen and Jason Bennett (“Plaintiffs-

Appellees”) asserted a claim arising under the Telephone Consumer Protection Act,

47 U.S.C. § 227, as set forth in Plaintiffs-Appellees’ Complaint. See Objector-

Appellant’s Appx. at 14-18, Doc. 1.

      The Court has appellate jurisdiction pursuant to 28 U.S.C. § 1291, as the

district court’s December 23, 2020 order granting final approval of the class action

settlement and dismissing the action with prejudice, see Objector-Appellant’s Appx.

at 207-238, Doc. 74, is a “final decision.”




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                                 Statement of Issues

      1.     Whether the district court’s decision to grant final approval of the class

action settlement as fair, reasonable, and adequate constituted an abuse of discretion.

      2.     Whether the district court correctly determined that the class action

settlement is not subject to the “coupon settlement” provisions in the Class Action

Fairness Act (“CAFA”), set forth at 28 U.S.C. § 1712.

      3.     Whether the district court’s order granting final approval of the class

action settlement should be affirmed regardless of the Court’s decision on (a) the

applicability of CAFA’s “coupon settlement” provisions           to this class action

settlement, or (b) the district court’s fee award.




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                              Statement of the Case

      For purposes of this appeal, and as contemplated by FRAP 28(i) and 11th Cir.

R. 28-1(f), GoDaddy joins in the Statement of the Case set forth in Plaintiffs-

Appellees’ brief. See Plaintiffs-Appellees’ Br. at pp. 2-11.




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                             Summary of the Argument

       Defendant-Appellee GoDaddy.com, LLC (“GoDaddy”) submits this

Appellee’s brief—and partial joinder to the brief of Plaintiffs-Appellees Susan

Drazen and Jason Bennett (“Plaintiffs-Appellees”)—regarding Objector-Appellant

Juan Pinto’s (“Objector-Appellant”) appeal of the district court’s Final Judgment

and Order Approving Class Settlement, see Objector-Appellant’s Appx. at 207-238,

Doc. 74. At the outset, GoDaddy notes that Objector-Appellant’s appeal appears to

be directed primarily to the fees the district court awarded to counsel for Plaintiffs-

Appellees, see Objector-Appellant’s Br. at 12, 21-27, Objector-Appellant’s Appx. at

229-234, Doc. 74, and GoDaddy takes no position on that dispute.

       GoDaddy does dispute certain of Objector-Appellant’s arguments that appear

to be directed at the district court’s decision to grant final approval of the class action

settlement, see Objector-Appellant’s Br. at 13-21, including Objector-Appellant’s

incorrect claim that (1) this appeal is subject to de novo review, rather than the abuse

of discretion standard that applies to appeals of orders approving class action

settlements; (2) the district court somehow erred in concluding that the class action

settlement, as set forth in the Second Amended Class Action Settlement Agreement

(the “Agreement”), see Objector-Appellant’s Appx. at 52-109, Doc. 50-1, was not a

“coupon settlement” under the Class Action Fairness Act (“CAFA”); and (3) a




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reversal as to the fee award would somehow mandate a reversal of the district’s

court’s decision to grant final approval of the class action settlement.

      Objector-Appellant is wrong, as (1) a district court’s decision to grant final

approval of a class action settlement is reviewed for abuse of discretion, not de novo;

(2) the district court correctly determined that the class action settlement is not

subject to the coupon settlement provisions in CAFA, as the district court correctly

found settlement class members had a choice to claim either a voucher or a cash

award, the vouchers are freely transferable and good on all products and services

GoDaddy offers, and half the settlement class members who submitted a claim

elected to receive a voucher, demonstrating that they believed the voucher provided

equal or greater value than the cash award; and (3) the district court’s decision to

grant final approval of the class action settlement should be affirmed regardless of

the Court’s decision on CAFA or the fee award, as (a) the district court analysis in

granting final approval of the class action settlement satisfies CAFA, and (b) the fee

award does not impact the district court’s approval of the class action settlement.

      Additionally, for purposes of this appeal, and as contemplated by FRAP 28(i)

and 11th Cir. R. 28-1(f), GoDaddy joins Sections I, II, and IV of the Argument

Section in Plaintiffs-Appellees’ brief, which address the issues raised above, as well

as Plaintiffs-Appellees’ Statement of the Case. See Plaintiffs-Appellees’ Br. at pp.

2-11, 13-19, 23-28.



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                                      Argument

      A.     The District Court’s Order Is Subject To Review For Abuse Of
             Discretion, Not De Novo Review
      The district court’s decision to grant final approval of the class action

settlement in this action is subject to review for abuse of discretion. See In re Equifax

Inc. Customer Data Sec. Breach Litig., 999 F.3d 1247, 1273 (11th Cir. 2021) (citing

Ault v. Walt Disney World Co., 692 F.3d 1212, 1216 (11th Cir. 2012)). For purposes

of this appeal, and as contemplated by FRAP 28(i) and 11th Cir. R. 28-1(f),

GoDaddy joins the arguments made on this issue by Plaintiffs-Appellees in Section

I of the Argument Section of their brief. See Plaintiffs-Appellees’ Br. at Arg. § I,

pp. 13-14. Objector-Appellant did not identify this standard, much less address it,

and instead tried to lessen his burden by arguing that this case presents only a

question of statutory interpretation (the applicability of CAFA) subject to de novo

review. See Objector-Appellant’s Br. at 13. Regardless, Objector-Appellant has not

claimed that the district court abused its discretion in granting final approval of the

class action settlement, and as a result, the district court’s order granting final

approval of the class action settlement should be affirmed.

      B.     The District Court Correctly Determined That The Class Action
             Settlement Is Not Subject To The “Coupon Settlement” Provisions
             In CAFA
      The district court correctly determined that the class action settlement is “not

a coupon settlement as contemplated by CAFA.” See Objector-Appellant’s Appx.


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at 212-214, Doc. 74. For purposes of this appeal, and as contemplated by FRAP

28(i) and 11th Cir. R. 28-1(f), GoDaddy joins the arguments made on this issue by

Plaintiffs-Appellees in Section IV of the Argument Section of their brief. See

Plaintiffs-Appellees’ Br. at Arg. § IV, pp. 23-28. The district court correctly

observed that “Class Members received the choice between a $150 Voucher or a $35

cash award,” see Objector-Appellant’s Appx. at 213, Doc. 74, and the Voucher

Award is freely transferrable, good on all products and services GoDaddy offers,

and does not require any minimum purchase. See Objector-Appellant’s Appx. at 62,

Doc. 50-1 at ¶ 51(b). As a result, the district court was correct in concluding that

“the presence of the $35 cash award removes this Settlement Agreement from the

purview of CAFA’s restrictions on coupon settlements.” Objector-Appellant’s

Appx. at 213, Doc. 74 (citing Mahoney v. TT of Pine Ridge, Inc., No. 17-80029-

CIV-MIDDLEBROOKS, 2017 WL 9472860, at *6 (S.D. Fla. Nov. 20, 2017)

(holding that settlement offering class members “‘an option between cash and non-

pecuniary relief’” is not a “coupon settlement” under CAFA, particularly where

“coupons” are freely transferable, require no minimum purchase, and are good on

all merchandise) (quoting 4 William B. Rubenstein, Newberg on Class Actions §

12.11 (5th ed. 2011))). See also Parsons v. Brighthouse Networks, LLC, No. 2:09-

cv-267-AKK, 2015 WL 13629647, at *7-8 (N.D. Ala. Feb. 5, 2015) (holding that

settlement was not a “coupon settlement” under CAFA where it provided class



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members with “account credits” that were “essentially the equivalent of cash that

can be spent to purchase new services outright, without spending any of the

customers’ own money”) (emphasis in original).

      As the district court observed, “Class Members had the opportunity to weigh,

in their own rationale self-interest, whether the $150 Voucher award provided

greater value than the $35 cash award.” Objector-Appellant’s Appx. at 213, Doc.

74. Indeed, “roughly half of the Class Members who claimed awards opted for the

$150 Voucher option,” such that “it can be assumed that half of the claimants

recognized the $150 Voucher as bestowing equal or greater value than the $35 cash

award.” Id. As a result, the district court correctly determined that the class action

settlement in this case is not a “coupon settlement” under CAFA.

      C.     The District Court’s Order Granting Final Approval Of The Class
             Action Settlement Should Be Affirmed Regardless Of The Court’s
             Decision On CAFA Or The Fee Award
      Even if this Court (a) concludes that the district court erred in finding that this

class action settlement is not a coupon settlement under CAFA, or (b) vacates the

fee award, the district court’s order granting final approval of the class action

settlement “as fair, reasonable, and adequate and not the result of collusion” should

be affirmed. See Objector-Appellant’s Appx. at 228, Doc. 74.

      First, the district court’s reasoned analysis in granting final approval of the

class action settlement satisfies CAFA. See id. at 207-238, Doc. 74. For purposes



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of this appeal, and as contemplated by FRAP 28(i) and 11th Cir. R. 28-1(f),

GoDaddy joins the arguments made on this issue by Plaintiffs-Appellees in Section

II of the Argument Section of their brief. See Plaintiffs-Appellees Br. at Arg. § II,

pp. 14-19. Although CAFA constrains the range of permissible attorney fee awards

in coupon settlements, see 28 U.S.C. § 1712—and again, GoDaddy takes no position

on the fee award at issue—when it comes to approving “coupon settlements,” CAFA

requires only that the district court hold “a hearing to determine whether, and mak[e]

a written finding that, the settlement is fair, reasonable, and adequate for class

members.” 28 U.S.C. § 1712(e). It is undisputed that the district court satisfied

these requirements, as the district court (1) considered full briefing on the adequacy

of the class action settlement from Plaintiffs-Appellees and Objector-Appellant, as

well as a statement from GoDaddy responding to Objector-Appellant’s objection,

see Doc. 53, 61-62, 65-69; (2) held an evidentiary hearing on December 14, 2020

regarding the adequacy and fairness of the class action settlement; and (3) issued a

thorough, well-reasoned order granting final approval of the class action settlement

as “fair, reasonable, and adequate and not the result of collusion.” Objector-

Appellant’s Appx. at 207-238, Doc. 74. See also In re Lumber Liquidators Chinese-

Manufactured Flooring Prods. Marketing, Sales Practices and Prods. Liab. Litig.,

952 F.3d 471, 492 (4th Cir. 2020) (vacating fee award but affirming order approving

settlement, finding that “district court complied with CAFA’s requirements for court



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approval of a ‘coupon’ settlement” by conducting a hearing and issuing written

findings that settlement was “fair, reasonable, and adequate for class members.”).

Objector-Appellant has not challenged the district court’s analysis of the class action

settlement, or its determination that the class action settlement is “fair, reasonable,

and adequate.” As a result, the district court’s order granting final approval of the

class action settlement should be affirmed.

      Second, the fee award—or any change thereto—does not impact the district

court’s approval of the class action settlement. The Agreement makes clear that “the

Court’s failure to approve, in whole or in part, any award for fees or cost and

expenses shall not prevent the Agreement from becoming effective, nor shall it be

grounds for termination of the Agreement.” Objector-Appellant’s Appx. at 76, Doc.

51-1 at ¶ 77. As a result, this Court’s “review of the district court’s decision to grant

final settlement approval is not tied to” any decision on the fee award. Chambers v.

Whirlpool Corp., 980 F.3d 645, 669 (9th Cir. 2020) (reversing fee award in coupon

settlement under CAFA, but finding no abuse of discretion in district court’s

decision to grant final settlement approval). See also, e.g. In re Lumber Liquidators,

952 F.3d at 492 (vacating fee award but affirming approval of settlement). The

question on appeal is whether the district court abused its discretion in granting final

approval of the settlement at issue, and Objector-Appellant has not suggested that

the district court did so in approving this class action settlement. As a result, the



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district court’s order granting final approval of the class action settlement should be

affirmed.

Conclusion

      The district court correctly found that the class action settlement as set forth

in the Agreement was not a “coupon settlement” under CAFA, and the district court

did not abuse its discretion in granting final approval of the class action settlement

as fair, reasonable, adequate, and not the subject of collusion. Therefore, GoDaddy

respectfully asks that the Court affirm the district court’s order granting final

approval of the class action settlement.



 Dated: November 3, 2021          Respectfully Submitted,

                                  COZEN O’CONNOR

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                                  Attorneys for Defendant-Appellee


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                            GoDaddy.com, LLC




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                            Certificate of Compliance
      I hereby certify that, pursuant to FRAP 32(g)(1) and 11 th Cir. R. 32-4

regarding type volume limitations, according to the word processor program used to

create the foregoing, this Appellee’s Brief and Partial Joinder to Appellee’s Brief of

Plaintiffs-Appellees contains 2966 words.



                                  Certificate of Service

      I hereby certify that on November 3, 2021, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Eleventh

Circuit by using the appellate CM/ECF system.

      Participants in the case who are registered CM/ECF users will be served by

the appellate CM/ECF system.



                                            By: /s/ Paula L. Zecchini
                                                  Paula L. Zecchini




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